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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

 CHRISTOPHER DAVID BROWN,                            )
                                                     )
                                 Plaintiff,          )
 v.                                                  )       Case. No. 21-CV-3105-SAC
                                                     )
 DANIEL L. SCHNURR, et al.                           )
                                                     )
                                 Defendants.         )
                                                     )

 MOTION TO DISMISS, OR IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT

       COME NOW Defendants Jeffrey Pettijohn and Todd Swenson, by and through Assistant

Attorney General, Michael J. Duenes, and respectfully request that this Court dismiss all claims

against them pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6). In the alternative, Defendants ask

this Court to grant summary judgment pursuant to Fed. R. Civ. P. 56. In compliance with D. Kan.

Rule 7.1 and 7.6, a memorandum in support is filed with this motion.


                                                    Respectfully submitted,

                                                    OFFICE OF ATTORNEY GENERAL
                                                    DEREK SCHMIDT

                                                    /s/ Michael J. Duenes
                                                    Michael J. Duenes, KS No. 26431
                                                    Assistant Attorney General
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                                                    Attorney for Defendants




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 22nd day of March, 2022, the above and foregoing was filed
with the clerk of the court by using the CM/ECF system which will send notice of electronic filing
to the following:

Natasha Carter
Kansas Department of Corrections
714 SW Jackson, 2nd Floor
Topeka, KS 66603
Natasha.Carter@ks.gov

Jon Graves
Kansas Department of Corrections
Hutchinson Correctional Facility
500 S. Reformatory Rd., 1568
Hutchinson, KS 67504
Jon.Graves@ks.gov

I also certify that a copy of the above was served via first-class mail, postage prepaid to:

Christopher David Brown #57800
El Dorado Correctional Facility
P.O. Box 311
El Dorado, KS 67042
Plaintiff, pro se


                                                              /s/ Michael J. Duenes
                                                              Michael J. Duenes
                                                              Assistant Attorney General




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